
Pierre J. Renelique, M.D., P.C., as Assignee of Ligene, Joanel, Respondent,
againstAmerican Independent Ins. Co., Appellant.




Freiberg, Peck &amp; Kang, LLP (Yilo J. Kang of counsel), for appellant.
The Rybak Firm, PLLC (Damin J. Toell and Karina Barska of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Robin Kelly Sheares, J.), entered August 2, 2017. The order, insofar as appealed from, denied defendant's motion to dismiss the complaint pursuant to CPLR 3211 (a) (8).




ORDERED that the order, insofar as appealed from, is reversed, with $30 costs, and defendant's motion to dismiss the complaint is granted. 
In this action by a provider to recover assigned first-party no-fault benefits, defendant appeals from so much of an order of the Civil Court as denied defendant's motion which sought to dismiss the complaint pursuant to CPLR 3211 (a) (8) on the ground that the Civil Court lacked personal jurisdiction over defendant.
For the reasons stated in Pavlova v American Ind. Ins. Co. (60 Misc 3d 128[A], 2018 NY Slip Op 50943[U] [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2018]), the order, insofar as appealed from, is reversed, and defendant's motion to dismiss the complaint is granted (see also Matter of Government Empls. Ins. Co. v Basedow, 28 AD3d 766 [2006]; Matter of Eagle Ins. Co. v Gutierrez-Guzman, 21 AD3d 489 [2005]). 
PESCE, P.J., WESTON and ALIOTTA, JJ., concur.

ENTER:
Paul Kenny
Chief Clerk
Decision Date: April 26, 2019










